                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129

ERIC COOMER, PhD.,

      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

      Defendants


                                 EXHIBIT 18
Subject: RE: Coomer v. Lindell - Conferral re: Mo5on for Sanc5ons
Date: Wednesday, September 6, 2023 at 3:14:36 PM Central Daylight Time
From: Ryan Malone <Malone@parkerdk.com>
To:      Brad Kloewer <bkloewer@cstrial.com>, Andrew Parker <Parker@parkerdk.com>, Jesse Kibort
         <Kibort@parkerdk.com>, Jill Thorvig <Thorvig@parkerdk.com>, Charlie Cain <ccain@cstrial.com>,
         ScoS Beam <sbeam@cstrial.com>, Dave Jennings <djennings@cstrial.com>


Yes, we will oppose.


From: Brad Kloewer <bkloewer@cstrial.com>
Sent: Wednesday, September 6, 2023 2:32 PM
To: Ryan Malone <Malone@parkerdk.com>; Andrew Parker <Parker@parkerdk.com>; Jesse Kibort
<Kibort@parkerdk.com>; Jill Thorvig <Thorvig@parkerdk.com>; Charlie Cain <ccain@cstrial.com>; ScoS
Beam <sbeam@cstrial.com>; Dave Jennings <djennings@cstrial.com>
Subject: Coomer v. Lindell - Conferral re: Mo5on for Sanc5ons

Ryan,

We’ll be ﬁling a mo5on for sanc5ons under FRCP 30 and 37 arising from Lindell’s conduct in his deposi5on on
August 23. I assume you’ll oppose, but please conﬁrm.

__________________

Brad Kloewer
Cain & Skarnulis PLLC
Salida, CO 81201
719-530-3011
bkloewer@cstrial.com

IMPORTANT NOTICE: The information in this email and any attachments is confidential and
may be protected by legal privileges and work product immunities. If you are not the intended
recipient, you must not use or disseminate the information. Receipt by anyone other than the
intended recipient is not a waiver of any attorney-client or work-product privilege. If you have
received this email in error, please immediately notify me by "Reply" command and
permanently delete the original and any copies or printouts thereof. Although this email and
any attachments are believed to be free of any virus or other defect that might affect any
computer system into which it is received and opened, it is the responsibility of the recipient
to ensure that it is virus free and no responsibility is accepted by Cain & Skarnulis PLLC for
any loss or damage arising in any way from its use.
